Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 1 of 34




                    EXHIBIT E
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 2 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 3 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 4 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 5 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 6 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 7 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 8 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 9 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 10 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 11 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 12 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 13 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 14 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 15 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 16 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 17 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 18 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 19 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 20 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 21 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 22 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 23 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 24 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 25 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 26 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 27 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 28 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 29 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 30 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 31 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 32 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 33 of 34
Case 1:19-cv-11605-WGY Document 85-5 Filed 09/15/21 Page 34 of 34
